Case 1:15-cV-23009-.]AL Document 1 Entered on FLSD Docket 08/11/2015 Page 1 of 5

UNITED STATES DISTRICT COUR'I"
SOUTHERN DISTRICT OF FLORIDA

 

 

MIAMI DIVISION
CASE NO.:

JAVIER NUNO,

Plaintiff,
v.
BRYAN WILLIAMS a/k/a
“BIRDMAN”,

Defendant.

/
COMPLAINT

Plaintiff JAVIER NUNO, by and through the undersigned counsel, hereby sues
Defendant, BRYAN WILLIAMS afk/a “BIRDMAN” the musical artist (“Defenclant”), and in
support thereof avers as foilows:

GENERAL ALLEGATIONS
1. This is an action by the Plaintifi` for unpaid Wages under the Fair Labor Standards Act,

29 U.S.C. §§ 201-219 (“FLSA”).

2. This Court has jurisdiction over Plaintift's FLSA claims pursuant to the 29 U.S.C. § 216.
3. Plaintiff Was at all times relevant to this action, a resident Miarni-Dade County Florida,

Within the jurisdiction of this Honorable Court. Plaintiff is a covered employee for

purposes of the FLSA.

4. Defendant BRYAN WILLIAMS a/k/a “BIRDMAN” the musical artist resides in Miami

Dacle»County, Florida, Where Plaintiff at all relevant times Worl<ed for Det`endant at

Defendant’s residence and Was a covered employee for purposes of the FLSA.

Case 1:15-cV-23009-.]AL Document 1 Entered on FLSD Docket 08/11/2015 Page 2 of 5

5. Venue is proper in Miami~Dadc County because all of the actions that form the basis of
this Complaint occurred Within Miami-Dade County and payment Was due in Miami-
Dade County.

6v Declaratory, injunctive, legal and equitable relief sought pursuant to the laws set forth
above together With attorneys’ fees, costs and damages

7. All conditions precedent for the filing of this action before this Court have been
previously met, including the exhaustion of all pertinent administrative procedures and
remedies

FACTUAL ALLEGATIGNS COMMON T() ALL COUNTS

8. Plaintiff performed Work for Defendant as a non-exempt employee from on or about
September 2012, through on or about February 23, 2015.

9. Throughout Plaintii"`f`s employment, Plaintiff Worked in excess of forty (40) hours per
Week, and Was supposed to be paid once a month approximately equating $1,000.00 each
Week as salary.

10. As Such, Plaintiff Was paid at an hourly rate of approximately $25.00 ($1,000.00 Weekly
pay + 40 hours Worked) for every hour Worked.

ll. Plaintiff Was not paid at the proper overtime rate for hours Worked in excess of forty (40)
each week, as proscribed by the laws of the United States and the State of Florida.

12. Plaintiff, during the relevant time period, from on or about September 2012, through on
or about February 23, 2015, Worked approximately thirty (30) hours of overtime each
week for 129 weeks

l3. Plaintiff Worked approximately thirty (30) overtime hours each Week for Which he Was
not paid at one and one half times his regular rate as provided by the FLSA. As such,

Plaintifi" s overtime rate is SlZ.SO (0.5 X $25.00) per hour for his thirty (30) hours of

Case 1:15-cV-23009-.]AL Document 1 Entered on FLSD Docket 08/11/2015 Page 3 of 5

overtime each week. As such, Plaintiff is owed approximately $48,375.00 (312.50
“halftime” overtime rate x 30 approximate hours of overtime each week x 129 Weeks) in
unpaid overtime wages

14. Defendant did not honor paying Plaintiff the compensation agreed upon at the beginning
of Plaintiff’s employment Plaintiff is owed approximately $l29,000.00 ($25.00 hourly
rate x 40 hours weekly x 129 weeks) in unpaid hourly wages. As such, Plaintiff is owed
approximately $177,375.00 ($48,375.00 unpaid overtime + 3129,000.00 unpaid hourly
wages) in unliquidated overtime and unpaid wages as Well as an additional equal
amount in liquidated damages, namely totaling $354,750.00 in liquidated overtime and
unpaid wages

COUNT I
Wage & Hour Federal Statutory Violation against
BRYAN WILLIAMS a/k/a “BIRD]\£AN”

15 . Plaintiff re~adopts each and every factual allegation as stated in paragraphs l through 14
of this complaint as if set out in full hercin.

16. This action is brought by Plaintift` to recover from Defendant unpaid overtime wage
compensation, as Well as an additional amount as liquidated damages, costs, and
reasonable attorney’s fees under the provisions of 29 U.S.C. § 201 et seq.

17. Jurisdiction is conferred on this Court by Title 29 U.S.C. § Zlo(b).

18. At all times pertinent to this Cornplaint, Defendant operated as an organization which
sells and/or markets its services and/or goods to customers from throughout the United
States and also provides its services for goods sold and transported from across state lines
of other states, and the Defendant obtains and solicits funds from non-Florida sources,

accepts funds from non~Florida sources, uses telephonic transmissions going over state

Case 1:15-cV-23009-.]AL Document 1 Entered on FLSD Docket 08/11/2015 Page 4 of 5

lines to do its business transmits funds outside the State of Florida, and otherwise
regularly engages in interstate commerce, particularly with respect to its employees

19. Upon information and belief, the annual gross revenue of the Defendant was at all times
material hereto in excess of $500,000 per annum, and, by virtue of working in interstate
commerce, otherwise satisfies the FLSA’s coverage requirements

20. By reason of the foregoing, the Defendant is and was, during all times hereafter
mentioned, an enterprise engaged in commerce or in the production of goods for
commerce as defined in §§ 3 (r) and 3(s) of the FLSA, 29 U.S.C. § 203(r) and 203(3).
Defendant’s business activities involve those to which the Fair Labor Standards Act
applies The Plaintiff’s work for the Defendant likewise affects interstate commerce

21. Plaintiff seeks to recover for unpaid wages accumulated from the date of hire and/or from
three (3) years from the date of the filing of this complaint

22. Defendant knew and/or showed reckless disregard of the provisions of the FLSA
concerning the payment of overtime wages as required by the Fair Labor Standards Act
and remain owing Plaintiff these unpaid wages since the commencement of Plaintiff’s
employment with Defendant as set forth above. As such, Plaintiff is entitled to recover
double damages

23. To the extent that Defendant never posted any notice, as required by the Fair Labor
Standards Act and Federal Law, to inform employees of their federal rights to overtime
and minimum wage payments, the statute of limitations for Pla.intiff’s FLSA claims is
equitably tolled See, e.g., Cruz v. Maypa, 773 F.3d 138, 147 (4th Cir. 2014) (extending
failure~to-post tolling in the ADEA context to the FLSA); Yu G. Ke v. Safgon Grill, Inc.,
595 F. Supp. 2d 240, 259 (S.D.N.Y. 2008) ("{F]ailure to provide required notice of the

governing legal requirements may be a sufficient basis for tolling."); Kamens v. Sammfr

Case 1:15-cV-23009-.]AL Document 1 Entered on FLSD Docket 08/11/2015 Page 5 of 5

sz`nless, Inc., 586 F. Supp. 324, 328 (E.D. Pa. 1984) ("An employer‘s failure to post a

statutorily required notice of this type tolls the running of any period of limitations.").

WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

A. Adjudge and decree that Defendant has violated the FLSA and has done so willfully,

intentionally and with reckless disregard for Plaintiff’s rights;

B. Award Plaintiff actual damages in the amount shown to be due for unpaid overtime

Wage compensation for hours worked in excess of forty (40) weekly, with interest;

C. Award Plaintiff an equal amount in double damages/liquidated damages;

D. Award Plaintifi` the costs of this action, together with a reasonable attorneys' fees;

and

E. Grant Plaintiff such additional relief as the Court deems just and proper under the

circumstances

JURY ])EMAND

Plaintiff demands trial by jury of all issues triable as of right by jury.

Dated: /Y//'/ ;/931§_

Respectfully subm`tted,

 

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